






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00004-CV






Billy Ross Sims, Appellant 


v.


Jennifer Smith and Celia Turner, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT

NO. D-1-GN-10-000102, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING



						

M E M O R A N D U M   O P I N I O N




		Appellant Billy Ross Sims attempted an appeal from a December 21, 2010 court order
that stayed further trial court proceedings and afforded Sims thirty days to amend his petition
before&nbsp;the court ruled on pending motions for summary judgment.  On January 3, 2011, Sims filed
a notice of appeal.  The December 21, 2010 order is interlocutory and not appealable.  Without a
final judgment or an otherwise appealable order, we may not exercise appellate jurisdiction.  See
Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.014 (West 2008); Lehmann v.&nbsp;Har-Con Corp., 39 S.W.3d
191, 195 (Tex. 2001).

		On June 9, 2011, this Court requested that Sims file a written response demonstrating
this Court's jurisdiction over his appeal.  Sims filed a response but failed to demonstrate this Court's 

jurisdiction.  Accordingly, we dismiss Sims's appeal for want of jurisdiction.  See Tex. R. App.
P.&nbsp;42.3(a).



						                                                                                     

						Jeff Rose, Justice

Before Justices Puryear, Pemberton and Rose

Dismissed for Want of Jurisdiction

Filed:   June 29, 2011


